Case 19-12819-elf        Doc 64    Filed 03/25/20 Entered 03/25/20 15:38:48            Desc Main
                                   Document      Page 1 of 2



                          UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  IN RE:                                          :
                                                  :
           Kim Tharesa Holt                       :       Case No.: 19-12819ELF
                                                  :
                                                  :
           Debtor                                 :       Chapter 13

                 MOTION TO MODIFY PLAN AFTER CONFIRMATION


           The Debtor, Kim Tharesa Holt, by and through her undersigned counsel, hereby

  move to modify her Chapter 13 Plan and in support thereof aver as follows:

           1.       Debtor filed a Chapter 13 Bankruptcy on or about May 1, 2019.

           2.       The Chapter 13 filing was assigned case number 19-12819ELF.

           3.       The Chapter 13 Plan was confirmed by this Honorable Court on or about

  November 12, 2019.

           4.       On or about March 24, 2020 the Debtor and the mortgagee, Deutsche

  Bank National Trustee Company, et al, entered into a Stipulation resolving the pending

  Motion for Relief.

           5.       Per the Stipulation, the Debtor is delinquent in the sum of $7,500.11 in

  post-petition mortgage payments. A true and correct copy of the Stipulation is attached

  hereto as Exhibit “A.”

           6.       In accordance with the Stipulation, the Debtor will cure the subject

  $7,500.11 by amending the Chapter 13 plan within seven (7) days of the entry of the

  Stipulation.
Case 19-12819-elf    Doc 64     Filed 03/25/20 Entered 03/25/20 15:38:48            Desc Main
                                Document      Page 2 of 2



           7.   In furtherance of the Stipulation and the Debtor curing the post-petition

  delinquency, this Motion and Modified Chapter 13 Plan are being contemporaneously

  filed.

           8.   The Debtor’s proposed modified Chapter 13 Plan is attached hereto as

  “Exhibit B”, and is affordable to the Debtor.

                 WHEREFORE, the Debtor requests that she be permitted to modify her

  Chapter 13 Plan for the above-stated reasons.



  Dated: March 25, 2020                                      /s/Brad J. Sadek, Esq
                                                             Brad J. Sadek, Esq.
                                                             Attorney for Debtor
                                                             1315 Walnut Street
                                                             Suite #502
                                                             Philadelphia, PA 19107
